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                                                                    Rec'd via email 12-29-21
                                                                    188-149; TAL-JLB-LDJ

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                                              December 29,2021

VIA EMAIL
Mr. Thomas LeBlanc
I W, 3rd St., #900
Tulsa, OK 74103
tlrerkhousea#ib

                    Re:      Estale of Lakey v. Wilson et al.

Thomas,

          I'm following up on our call last  week regarding Estate's Notice of Intent to Pursue
Sanctions pursuant to f'eO. R. Civ.  P, 11. (Doc.  215). As we discussed, you didn't think it was
necessary that we serye the exhibit to the notice a second time, and you further requested that we
propose a solution.

         In that regard, we think an appropriate resolution, consistent with the Rule, would entail
filing a motion to withdraw the last sentence in Paragraph 7 of Frank Schaff s affidavit, and the
last ientence in Paragraph 8 of Coley's affidavit, which both read: "To my knowledge, the LTilson
Police Department hras never had anyone in thal position." (Doc.84, Ex. l, PP. 4,6)' Additionally,
any refer;nce or reliance on that sentence, found in either the motions to dismiss or the
corresponding reply briefs, should also be withdrawn'

        Our proposal doesn't require that you completely withdraw the affidavits or the briefs, just
those portions afflrmatively representing that Wilson "has never had anyone in that position'" To
the exient you plan to file a motion to withdraw consistent with our proposal, you can note that we
have no objection to that particular relief'

          As always, please let me know if you have additional questions'

                                             Kind regards,



                                             slJ. Spencer Bryan




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